          Case 3:23-cv-01891-DMS-MSB Document 1 Filed 10/16/23 PageID.1 Page 1 of 14
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20        I.      RELATED CASES
21                a.    Do you ha~ the r Civil Case(s) in this or any othe
                                                                             r federal court?
22                             me s         □ No
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26               each defendant is involved, and tell what each defe
                                                                       nda nt did to you that caused
27               you to file this suit fa inst them . ~ ~ 1;;m_es
                                                                    of any othe r persons involved,
28               dates, and places.JL ~            0-0 ' : va--o,-~

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 1 III.   RELIEF YOU REQUEST (State exactly what you want the court to do for you.
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 1 IV.      DEMAND FOR JURY TRIAL (Would you like a trial by jury on all claims
 2          pursuant fFRCP, Rule 38?)           ~
 3              "Ffes       □ No   ')~                      •      -
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